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The following constitutes the ruling of the court and has the force and effect therein described.




 Signed July 7, 2020                       United States Bankruptcy Judge
______________________________________________________________________

                                     IN THE UNITED STATES
                                  BANKRUPTCY COURT FOR THE
                                  NORTHERN DISTRICT OF TEXAS
                                       ABILENE DIVISION

           IN RE:                                    §                   CASE NO. 19-10280-rlj7
                                                     §
           BIG COUNTRY MOBILE                        §
           FLFLEETFLEEVICES,
           FLEET SERVICES, LLCLLC                    §
                                                     §
           DEBTOR.                                   §                   CHAPTER 7


             ORDER GRANTING MOTION FOR LEAVE FOR ADMISSION PRO HAC VICE
                             WITHOUT LOCAL COUNSEL


            The Court, having considered the Motion by attorney Ryan Dunn for leave to appear
     pro hac vice without associating local counsel, it is hereby ordered that the Motion is
     GRANTED.


                                     ### END OF ORDER ###



     ORDER PREPARED BY
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